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Uniled States of Amenica , CR. Gave No. 2120 -Cv-|8 THM —
Pramhte Mohon +o Cowect Sentence Basect
/ on Rehoachve Criminal History

Vs. oaegery of United States Seren
~Bauletre Carpoft pase Guitlelinés ("USSG") secon 4B1.

Defendant.

Mohen to Comect Sentence Based on Rehoachrs of Crminal tHiete
United States Sentencing Guidelines C“USS6") Sechon 4681.10

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ao Proceeding pro se, “a document Filea by pro se 1 40 be liberedlly conswucd
a a pro se comp int, however inartfully pleaded must be held +o iess stinepett

A lawyers.” Erickson y. Pardus; ks

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SSt US. 64,44, 124 s.¢+4.
and citahons omitted).
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USSG 4 “un ‘ 1a to “status pots” and eriain

MESG ABIL A Curminal history amendments veleh . Pe
“Zor point" ottendey, Which I ama —ZeO=poin offender, which became

ve on November 1, 2022.

alanyary42020 and received a sentence of term of

Twas sentenced on
Inca rcerexhon of [35 months and 5 Yaa re ot supervisca release.
On May |, 2023, the United States Sentencing Commission submitted +o Congess
idelines “and official commentary , Which

amendAments +o the Sentencing qu
shoes . Section 4582(cX%2) of Wie 's, United Stes
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became ettechre on November
Code, provides that "IW the case of the defendant who has been sentenced
that has Subsequently been

term cf imprisonment based on a sentencin YANG
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lowerecl by Me sentencing Commission pu ,
mohon ot defendant or te Director of Coreen of Pusens ("BOP"), ov on it:
motion, the court may reduce the term of wmpnsonment, aller considevind the
factors set forth m Sechon_32652/a)+o tne extent that they ave applicable; if
Sucha rveduchon 1S consistent wrth applicable policy statements \Ssued ley the-
Sentencing Commiesion." Pursuant +o Pe s.c. 6 4aa(u), "Eile the Commission
(educes ‘He fem of impnscnment recommended wi the uidelines applicable to 4
particular offense ov ca ovy ot offenses i+ shall epeui in what circumstances
VA what amount th es ot pnseners semng of\impnsonment for
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Adjustment

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the se may be veducea."

AIT Reduction + a
—BSO-POIne Criminal History Points at New USSG sechon 41.4
“Point Offenders)
—28_ montis , due to the

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tam asking that my sentence be reduced ly 28

new changts.
XL. Comate sion
+ my motion be granted.
Adelanto ,CA

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